    Case 2:19-cv-00175-LEW Document 1 Filed 04/25/19 Page 1 of 6                    PageID #: 1




                            UNITED STATES DISTRICT COURT
                                 DISTRICT OF MAINE


ALI ABDISAMAD,                                )
Personal representative of the                )
Estate of R.I.,                               )
                                              )
               Plaintiff                      )
                                              )
~                                             )
                                              )
                                              )
CITY OF LEWISTON,                             )
A municipality located in the                 )
County of Androscoggin,                       )
State of Maine,                               )
                                              )
~d                                            )
                                              )
STATE OF MAINE,                               )
DEPARTMENT OF                                 )
AGRICULTURE, CONSERVATION,                    )
AND FORESTRY                                  )
A department of the State of Maine,           )
located in Augusta, County of                 )
Kennebec, State of Maine,                     )
                                              )
               Defendants                     )


                       COMPLAINT & DEMAND FOR JURY TRIAL

        NOW COMES the Plaintiff, by and through his attorney and respectfully demands trial

by jury on all of his claims and causes so triable and complains against the Defendants as

follows:

                                 JURISDICTION AND VENUE

           1. Jurisdiction is invoked pursuant to Tile 28, United States Code, Section 1331

               insofar as Plaintiffs causes of action raise federal questions under the

               Constitution, laws, treaties or statutes of the United States.
Case 2:19-cv-00175-LEW Document 1 Filed 04/25/19 Page 2 of 6                    PageID #: 2




      2. Venue is proper within this District pursuant to Tile 28, United States Code,

         Section 1391(a), insofar as a substantial part of the events or omissions giving rise

         to the claims asserted occurred within the District of Maine. The harm sustained

         by Plaintiff occurred in the District of Maine. Pursuant to Rule 9( a) of the Rules

         of this Court, this action is properly filed in Portland because this case arises in

         Androscoggin County.

                                       PARTIES

      3. Plaintiff is an individual residing in the City of Lewiston, County of

         Androscoggin, State of Maine and is R.I.' s father and personal representative of

         the estate of R.I.

      4. Defendant City of Lewiston is a municipality located in Androscoggin County,

         State of Maine.

      5. Defendant State of Maine Department of Agriculture, Conservation and Forestry

         is a Department within the State of Maine that is responsible for, among other

         things, the Maine State Parks.

                              FACTUAL ALLEGATIONS

      6. On or about June 12, 2018, Defendant City of Lewiston held a school-sponsored

         field trip to Range Pond State Park in Poland, Maine for a group of seventh

         graders.

      7. R.I. was a student on that trip.

      8. The trip consisted of approximately 111 students and 11 adult "chaperones," all of

         whom were employed by the Lewiston School Department.

      9. Upon arrival at Range Pond, the team leader discussed ground rules with the
Case 2:19-cv-00175-LEW Document 1 Filed 04/25/19 Page 3 of 6                    PageID #: 3




          students.

       10. Defendant State of Maine Department of Agriculture, Conservation and Forestry

          did not offer or provide a lifeguard or other representative to discuss safety rules

          within the group.

       11. Defendant State of Maine Department of Agriculture, Conservation and Forestry

          only provided one lifeguard at the beach area.

       12. Sometime after 11 :00 am a student reported to a chaperone that he could not

          locate R.I.

       13. According to witnesses, the lifeguard on duty appeared not to know what to do in

          the situation and asked other chaperones to get in the water to look for R.I.

       14. After rescue personnel arrived, they were able to locate R.I..

       15. R.I. was taken to a local hospital where he was pronounced dead after arrival.

       16. Upon information and belief that the failure of Defendants City of Lewiston and

          the Maine Department of Agriculture, Conservation and Forestry to follow their

          protocols, created a danger to R.I. from which they had a duty to protect him.

                        COUNT I-DUE PROCESS VIOLATION
                              CITY OF LEWISTON

       17. Plaintiff repeats and realleges all of the allegations contained in paragraphs 1

          through 16 above, as if set forth fully herein.

       18. By its actions, the City of Lewiston created a significant danger to Plaintiff

          depriving him of due process of law as guaranteed by both the Maine and federal

          Constitutions.

       19. Upon information and belief that the City of Lewiston violated its protocols and

          standards under the circumstances, creating such danger to Plaintiff.
Case 2:19-cv-00175-LEW Document 1 Filed 04/25/19 Page 4 of 6                    PageID #: 4




       20. The City of Lewiston's actions and deliberate indifference were so egregious and

          outrageous that they shock the contemporary conscience.

       21. The City ofLewiston's deprival of due process caused Plaintiff conscious pain

          and suffering and ultimately death.

                  COUNT II-DUE PROCESS VIOLATION
                  STATE OF MAINE DEPARTMENT OF
             AGRICULTURE, CONSERVATION, AND FORESTRY

       22. Plaintiff repeats and realleges all of the allegations contained in paragraphs 1

          through 21 above, as if set forth fully herein.

       23. By its actions, the State of Maine Department of Agriculture, Conservation and

          Forestry created a significant danger to Plaintiff depriving him of due process of

          law as guaranteed by both the Maine and federal Constitutions.

       24. Upon information and belief that the State of Maine Department of Agriculture,

          Conservation and Forestry violated its protocols and standards under the

          circumstances, creating such danger to Plaintiff.

       25. The State of Maine Department of Agriculture, Conservation and Forestry's

          actions and deliberate indifference were so egregious and outrageous that they

          shock the contemporary conscience.

       26. The State of Maine Department of Agriculture, Conservation and Forestry's

          deprival of due process caused Plaintiff significant physical and emotional

          damages.

                         COUNT III-WRONGFUL DEATH
                             CITY OF LEWISTON

       27. Plaintiff repeats and realleges all of the allegations contained in paragraphs 1

          through 26 above, as if set forth fully herein.
Case 2:19-cv-00175-LEW Document 1 Filed 04/25/19 Page 5 of 6                    PageID #: 5




       28. R.l.'s death was caused by a wrongful act, neglect or the default of Defendant.

          City of Lewiston.

       29. Defendant City ofLewiston's wrongful act, neglect or default is such as would, if

          death had not ensued, have entitled Plaintiff to maintain an action and recover

          damages in respect thereof.

       30. As the result of Defendant City of Lewiston's actions, neglect or default causing

          R.I.' s death, Plaintiff sustained pecuniary injuries including reasonable expenses

          of medical, surgical and hospital care and treatment and funeral expenses.

       31. R.I.' s relatives have also sustained the loss of comfort, society and companionship

          of R.I.

                      COUNT IV-WRONGFUL DEATH
                    STATE OF MAINE DEPARTMENT OF
                AGRICULTURE, CONSERVATION & FORESTRY

       32. Plaintiff repeats and realleges all of the allegations contained in paragraphs 1

          through 31 above, as if set forth fully herein.

       33. R.I. 's death was caused by a wrongful act, neglect or the default of Defendant.

          State of Maine Department of Agriculture, Conservation & Forestry.

       34. Defendant State of Maine Department of Conservation, Agriculture, Conservation

          & Forestry's wrongful act, neglect or default is such as would, if death had not

          ensued, have entitled Plaintiff to maintain an action and recover damages in

          respect thereof.

       35 . As the result of Defendant State of Maine Department of Agriculture,

          Conservation & Forestry's actions, neglect or default causing R.I.' s death,
  Case 2:19-cv-00175-LEW Document 1 Filed 04/25/19 Page 6 of 6                     PageID #: 6




               Plaintiff sustained pecuniary injuries including reasonable expenses of medical,

               surgical and hospital care and treatment and funeral expenses.

           36. R.I. 's relatives have also sustained the loss of comfort, society and companionship

               ofR.I.

       WHEREFORE, Plaintiff respectfully demands judgment against Defendants in such

amount as is reasonable under the circumstances for compensatory damages in an amount to be

determined at trial with prejudgment interest thereon.


Date: April 25, 2019
                                                            Verne E. Pa adie, Jr.
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                                                            217 Main Street, Suite 400
                                                            Lewiston, ME 04240
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